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                   EXHIBIT B
                        Case 1:20-cv-00929-RDB Document 30-2 Filed 04/15/20 Page 2 of 2
Rev. Dr. Cleveland T. A. Mason, 2nd                                                                                                          Rev. Dr. Samuel Blow
President / CEO                                                                                                                           Third Vice President / CFO


Rev. Domanic A. Smith                                                                                                               Mrs. Elizabeth Tedford-Miller
First Vice President / CAO                                                                                                                    Acting Executive Secretary


Rev. Dr. Dean Jones-Evans                                                                                                                     Rev. M. Jamal Foster
Second Vice President / COO                                                                                                                                  Treasurer




                               The United Baptist Missionary Convention
____________________________________________________________________________________________________________________________________________________________________
                                              & AUXILIARIES OF THE STATE OF MARYLAND, INC.
                                                    2516 Edmondson Avenue ▪ Baltimore, Maryland 21223
                                                          Voice: 410.523.2950 ▪ Fax: 410.523.0258
                                                              Website: www.ubmcofmd.org
 March 30, 2020

 Commissioner Michael Harrison
 Baltimore City Police Department
 601 East Fayette Street
 Baltimore, MD 21202

 Dear Commissioner Harrison:

 The United Baptist Missionary Convention & Auxiliaries of the State of Maryland, Inc. is comprised of more than
 100 churches across the state. The communities surrounding many of our churches are impacted by violent crime
 that impedes the quality of life of our members and its residents. We are aware of the desire of the Baltimore City
 Police Department to become the first department in America to research the efficacy of aerial surveillance.
 Therefore, pending before the Board of Estimates is a request to adopt Aerial Investigative Research (AIR)
 promoted and funded by the Arnold Foundation. We, and the undersigned faith-based leaders, support the
 research and fact-finding test of AIR under the condition that Morgan State University has an independent research
 role in evaluating the program.


 Sincerely,




 Dr. Cleveland T. A. Mason, 2nd
 President

 Imam Earl El-Amin
 Bishop Dennis V. Proctor
 Bishop James L. Carter
 Dr. Alvin C. Hathaway, Sr.
 Rev. Dr. Beryl Whipple
 Rev. Dr. Harold A. Carter, Jr.
 Rev. Dr. Terris King
 Rev Dr Reginald Thomas
 Rev. Duane Simmons



                                              “Rebuilding Community – Advancing the Kingdom of God”
                                                                   – Isaiah 58
